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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG       *             CIVIL ACTION
“DEEPWATER HORIZON” IN THE            *             NO. 2:10-MDL-02179
GULF OF MEXICO, ON APRIL 20, 2010     *
                                      *              SECTION “J”
THIS DOCUMENT RELATES TO:             *
CASE NO: 2:10-cv-08888; 2:10-cv-02771 *
                                      *              JUDGE BARBIER
                                      *
                                      *              MAGISTRATE SHUSHAN
*********************************

                                      ORDER

      Considering the foregoing Motion for Leave to File Short Form Joinder:

      IT IS ORDERED that the motion is GRANTED and the Short Form Joinder of

Elray David Joseph Clark, attached to the Motion for Leave to File Short Form Joinder,

is accepted by the Court and shall be considered as timely filed in the above-entitled

proceedings.

      Signed in New Orleans, Louisiana, this ____ day of ______________, 2012.




                                              HON. CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
